46 F.3d 1151
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    William J. JOHNSON, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.
    No. 94-3355.
    United States Court of Appeals, Tenth Circuit.
    Jan. 5, 1995.
    
      Before ANDERSON, BALDOCK, and BRORBY, Circuit Judges.
    
    ORDER AND JUDGMENT1
    
      1
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.  See Fed.  R.App. P. 34(a);  10th Cir.  R. 34.1.9.  The cause is therefore ordered submitted without oral argument.
    
    
      2
      We affirm the district court's dismissal of Mr. Johnson's "Petition for Writ of Habeas Corpus Instanter' " on the grounds and for the reasons set forth in the district court's Memorandum and Order filed September 30, 1994.
    
    
      3
      AFFIRMED. The mandate shall issue forthwith.
    
    
      
        1
         This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral estoppel.  The court generally disfavors the citation of orders and judgments;  nevertheless, an order and judgment may be cited under the terms and conditions of the court's General Order filed November 29, 1993.  151 F.R.D. 470
      
    
    